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                       IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO                     2011 MAR -8 PM 3: 43
                                  WESTERN DIVISION
                                                                            (J"-'.'   j",

UNITED STATES OF AMERICA,                           Case No.: 3:lOCR21O(1'"J~WI;IR
                                                                          I.' '
                                                                                   ;',

               Plaintiff

               v.

JOSE GUADALUPE MACIAS, III, et al                   ORDER

               Defendants.


       On March 8, 2012, the United States filed a Motion to Dismiss Count 1 of the Fourth

Superseding Indictment as to Kasha Mitchell only, pending before this Court, in the above-

captioned matter. Based upon the Motion filed by the United States, and for good cause shovv'fl,

the Court hereby Orders that Counts 1 of the Fourth Superseding Indictment in this matter be

dismissed without prejudice as to Defendant Kasha Mitchell only.

       IT IS SO ORDERED.


                                             WALTERH. RICE
                                             United States District Judge
